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                                   Attorneys' Eyes Only

1                UNITED STATES DISTRICT COURT
2               NORTHERN DISTRICT OF CALIFORNIA
3                    SAN FRANCISCO DIVISION
4
5      ------------------------
6      ORACLE AMERICA, INC.,            )
7            Plaintiff,                 )
8      vs.                              ) No. CV 10-03561 WHA
9      GOOGLE, INC.,                    )
10           Defendant.                 )
11     ------------------------
12
13                    ATTORNEYS' EYES ONLY
14
15           Videotaped Deposition of EREZ LANDAU,
16           taken at 42 Chauncy Street, Boston,
17           Massachusetts, commencing at 9:50 a.m.,
18           Wednesday, September 14, 2011, before
19           Jill Shepherd, RPR, MA-CSR No. 148608,
20           NH-CSR No. 128, CA-CSR No. 13275, CLR,
21           Notary Public.
22
23
24
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                                          Attorneys' Eyes Only
 1     tape two. We are back on the record.                1     one place, and it was sufficient.
 2   Q. To continue where we left off before the           2   Q. Do you know which files are part of the
 3     break, let's take a look at paragraph 27 on         3     accused functionality?
 4     page six. You indicate that you modified            4           MR. PETERS: Objection. Form.
 5     two files for your testing. One is                  5   A. I did not study it.
 6     RuntimeInit.java and the second one is              6   Q. Do you know if RuntimeInit.java is part of
 7     AndroidRuntime.cpp; is that right?                  7     the accused functionality?
 8   A. Yes.                                               8           MR. PETERS: Objection. Form.
 9   Q. Is RuntimeInit that Java part of the accused       9   A. As I was saying, I did not study it. My
10     functionality?                                     10     task was only to disable it.
11           MR. PETERS: Objection. Form.                 11   Q. You modified RuntimeInit.java, correct?
12   A. I want to open now, which is the accused          12   A. Yes.
13     functionality basically is the fork,               13   Q. Do you know if that file was part of the
14     disabling the fork -- disabling the usage of       14     accused functionality before you modified
15     fork as a standalone operation and move it         15     it?
16     into fork/exec combination. When you're            16           MR. PETERS: Objection. Form.
17     using a new process in fork/exec folk, you         17   A. You asked me this question -- this is the
18     get disabling of the copy-on-write                 18     third time you ask me. I say I don't know.
19     functionality. So just looking right now           19   Q. Okay.
20     which one of the files was that.                   20         Did your modifications disable the
21         One file contains -- both of them I            21     whole preloader?
22     use. One file is calling the other                 22           MR. PETERS: Objection. Form.
23     function, which is the defining the first          23   A. What do you mean by "preloader"? In which
24     one.                                               24     context?
25         Let me describe it for you. On                 25   Q. When the zygote starts up, it preloads a
                                                Page 46                                                 Page 48

 1     page one of Appendix A, we added a new JNI          1     number of frameworks into memory; is that
 2     function, which is in the RuntimeInit_exec,         2     correct?
 3     which do the exec operation. The exec               3            MR. PETERS: Objection. Form.
 4     operation disable the fork as a standalone,         4   A. You also do that. This is not the only
 5     and, by this, disable copy-on-write. So             5     thing it does.
 6     together they are doing this operation. The         6   Q. It is one of the functions that it performs;
 7     actual disabling is inside B and A is               7     is that correct?
 8     calling B.                                          8            MR. PETERS: Objection. Form.
 9   Q. A is RuntimeInit.java?                             9   A. Correct.
10   A. Yes.                                              10   Q. And those frameworks that are loaded can be
11   Q. And B is AndroidRuntime.cpp?                      11     cloned using copy-on-write in Android; is
12   A. Yes. No, B is AndroidRuntime.cpp. This            12     that your understanding?
13     is A and this is B [indicating].                   13            MR. PETERS: Objection. Form.
14   Q. I'm sorry. Right.                                 14   A. Your description of the situation is not
15          Are any other files part of the               15     precise.
16     accused functionality?                             16   Q. Let me start over then.
17            MR. PETERS: Objection. Form.                17          Does Android have a preloader?
18   A. Can you -- are there any other files what?        18            MR. PETERS: Objection. Form.
19   Q. That are part of the accused functionality        19   A. Preloader is used in several places in
20     in Android.                                        20     different contexts. This is why I ask you
21            MR. PETERS: Objection. Form.                21     what context you are referring.
22   A. I was not looking for the accused                 22   Q. Do Java virtual machines have a class
23     functionality. I was looking how to disable        23     preloader?
24     it. It's the actual functionality is               24            MR. PETERS: Objection. Form.
25     composed many places, but I disable only in        25   A. Again, same answer. Preloader is not a
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 1     come to Israel.                                    1   Q. Is there any relationship between your test
 2            MR. PETERS: I have a few follow-up          2     program loading that class and the
 3     questions, Mr. Landau.                             3     bluetooth.ScoSocket entries -- in the log
 4                 *****                                  4     entry of Exhibit 499?
 5            EXAMINATION BY MR. PETERS                   5   A. In the Bluetooth case it's likely that you
 6   Q. If you look at Exhibit 496, which is a            6     are right, but we have to verify this in the
 7     document entitled "MtaskClassLoading."             7     code.
 8   A. The list of class loading? Yes. Found it.         8   Q. So it could be not accidental that these log
 9   Q. This is your program that will load in the        9     entries relating to bluetooth.ScoSocket
10     classes that are named here in the static         10     appear in the log because of the loading of
11     stream classes list on the first page?            11     the class ScoSocket?
12   A. Yes.                                             12   A. It could be. We have to check it.
13   Q. If I could ask you to turn to page 21,           13   Q. Speaking more generally about the tests that
14     please.                                           14     you and your team ran, would you say that
15   A. Yes.                                             15     the tests that are described in your report
16   Q. And here at the bottom of page 21, there's a     16     and you've testified about today, are they
17     series of classes that are in the package         17     representative of the kind of performance
18     space                                             18     testing that you and your team members do in
19     org.apatchi.harmony.xnet.provider.jsse.           19     your everyday work?
20         Do you see those?                             20   A. Yes. This is a typical scenario of work
21   A. Yes.                                             21     that we are doing.
22   Q. So when your test program loads, it will         22   Q. Okay.
23     load those classes; is that correct?              23         And when you do your work, do you
24   A. It can only load them. It cannot execute         24     normally rely on your colleagues like Seeon
25     them.                                             25     to help you do your work?
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 1   Q. But what will it do with any sort of static       1   A. I assist a lot of and -- I am being assisted
 2     initialization methods that may be present         2     a lot with hands-on work with other of
 3     when it initializes the classes, when the          3     the -- I'm supervising quite multiple
 4     classes are loaded?                                4     projects.
 5   A. In the 4.8, I don't think it's been done.         5   Q. Is there anything about the projects that
 6     I'm not sure about this. Anyway, this is           6     you did in your analysis of Android that you
 7     not a message you get over there -- from the       7     would say is not typical of the kinds of
 8     log. The message in the log is not due to          8     testing you do in the Java environment?
 9     that.                                              9   A. No. We use normal methods that -- normal
10   Q. So there's -- so in your view, there's no        10     procedure.
11     relationship between the loading of the           11   Q. Okay.
12     classes and the log message in Exhibit 499?       12           MR. PETERS: Thank you, Mr. Landau.
13   A. It could be. I would say it's not. It            13           THE VIDEOGRAPHER: The time is
14     could be.                                         14     1:34 p.m. This is the end of tape three,
15   Q. Okay.                                            15     and the deposition is concluded, and we are
16          If I could ask you to turn to page two       16     off the record.
17     of Exhibit 496, MtaskClassLoading.java.           17           (Whereby the proceedings were
18   A. Which one? The same one?                         18           concluded at 1:34 p.m.)
19   Q. Yes. Page two.                                   19
20          So here do you see a series of classes       20
21     all beginning the name "android.bluetooth"?       21
22   A. Yes.                                             22
23   Q. And the last one on that list is                 23
24     "android.bluetooth.ScoSocket"?                    24
25   A. Yes.                                             25
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